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                                     UNITED STATES DISTRICT
                                         COURT FOR THE
                                      SOUTHERN DISTRICT OF
                                            FLORIDA

                                                 CASE NO.:


 WINDY LUCIUS,

                  Plaintiff,

 v.


 SURF STYLE, INC.,

                  Defendant.


 __________________________________/


                                          COMPLAINT FOR
                                           DAMAGES AND
                                        INJUNCTIVE RELIEF

             Comes now Windy Lucius, (“Plaintiff”) by and through her undersigned counsel,

      hereby files this complaint and sues Defendant, SURF STYLE, INC., INC. a Florida

      corporation and alleges as follows:

                                            INTRODUCTION

             1.      Plaintiff Windy Lucius brings this action individually and on behalf of all

      others similarly situated against SURF STYLE, INC., (“Defendant”), alleging violations of

      Title III of the Americans with Disabilities Act, 42 U.S.C. § 12101 et seq., (hereinafter,

      “ADA”).


             2.      Plaintiff is a blind individual. She is young, social and involved. She has
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   been blind for the past nine years. She uses the internet to help her navigate a world of

   goods, products and services like the sighted. She brings this action against Defendant

   for offering and maintaining an internet website that is not fully accessible and

   independently usable by visually impaired consumers. The website at issue is

   www.surfstyle.com (hereinafter, “website”).

          3.       Defendant offers its website to the general public from which it sells men’s,

   women’s and children’s clothing and accessories. As such, it has subjected itself to the ADA.

   Defendant’s website is offered as a tool to promote, advertise and sell clothing and

   accessories from its brick and mortar stores, which are places of public accommodation. As

   a result, the website must interact with Defendant’s stores and the public, and in doing so

   must comply with the ADA, which means it must not discriminate against individuals with

   disabilities and may not deny full and equal enjoyment of the goods and services afforded to

   the general public.

          4.      Blind and visually impaired consumers must use screen reading software or

   other assistive technologies in order to access website content. Defendant’s website,

   however, contains digital barriers which limit the ability of blind and visually impaired

   consumers to access it.

          5.      Defendant’s website does not properly interact with screen reader software

   in a manner that will allow the blind and visually impaired to enjoy the website, nor does it

   provide other means to accommodate the blind and visually impaired.

          6.      Plaintiff has patronized Defendant’s website in the past and intends to continue

   to patronize Defendant’s website.     She would like to be able to pre-shop Defendant’s

   merchandise before going to Defendant’s brick and mortar location. However, unless
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   Defendant is required to eliminate the access barriers at issue and required to change its

   policies so that access barriers do not reoccur on Defendant’s website, Plaintiff will continue

   to be denied full and equal access to the website as described and will be deterred from fully

   using Defendant’s website or shopping at the physical locations.

          7.      The ADA expressly contemplates the type of injunctive relief that Plaintiff

   seeks in this action. The ADA provides, in part:

          [i]n the case of violations of . . . this title, injunctive relief shall include an order
          to alter facilities to make such facilities readily accessible to and usable by
          individuals with disabilities . . . Where appropriate, injunctive relief shall also
          include requiring the . . . modification of a policy . . .

   42 U.S.C. § 12188(a)(2).

          8.      Therefore, Plaintiff seeks a declaration that Defendant’s website violates

   federal law as described and an injunction requiring Defendant to modify its website so that

   it is fully accessible to, and independently usable by, blind or visually impaired individuals.

   Plaintiff further requests that the Court retain jurisdiction of this matter for a period to be

   determined to ensure that Defendant comes into compliance with the requirements of the

   ADA and to ensure that Defendant has adopted and is following an institutional policy that

   will, in fact, cause Defendant’s website to remain in compliance with the law.

                                   JURISDICTION AND VENUE

          9.      This Court has federal question jurisdiction pursuant to 28 U.S.C. §1331 and 42

   U.S.C. § 12188.

          10.     Plaintiff’s claims asserted herein arose in this judicial district and Defendant

   does substantial business in this judicial district where it has at least one physical location.

          11.     Venue in this judicial district is proper under 28 U.S.C. § 1391(b)(1) and (2)

   in that this is the judicial district in which Defendant resides, and in which a substantial part
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   of the acts and omissions giving rise to the claims occurred.

                                               PARTIES

           12.     Plaintiff, Windy Lucius, is and, at all times relevant hereto, was a resident of

   the State of Florida. Plaintiff is and, at all times relevant hereto, has been legally blind and is

   therefore a member of a protected class under the ADA, 42 U.S.C. § 12102(2) and the

   regulations implementing the ADA set forth at 28 CFR §§ 36.101 et seq.

           13.     Defendant SURF STYLE, INC.. owns, operates and maintains a store called

   SURF STYLE, INC., in Miami Beach, Florida and other locations throughout the state of

   Florida. Defendant’s store sells men’s, women’s and children’s clothing and accessories to

   the public. Defendant also offers those items to the public through its website. Defendant’s

   store and accompanying website work collectively and are public accommodations pursuant

   to 42 U.S.C. § 12181(7)(E).

                                                FACTS

           14.     Defendant owns, operates and controls an internet website known as

   www.surfstyle.com from which it sells men, women and children’s clothing and accessories.

   They sell that same clothing from their corresponding brick and mortar stores. Defendant’s

   website also helps users locate stores, view pricing and specials, shop for women’s clothing

   and accessories, and a variety of other functions. Plaintiff has shopped with Defendant and

   enjoys the clothing that it sells for women.

           15.     Defendant’s website is a nexus to a place of public accommodation pursuant

   to 42 U.S.C. § 12181(7)(E). Therefore, under the ADA, Defendant must ensure that

   individuals with disabilities have access to full and equal enjoyment of the goods and

   services offered on its website.
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          16.     Blind and visually impaired individuals may access websites by using

   keyboards in conjunction with screen reader software that converts text to audio. Screen

   reader software provides the primary method by which a visually impaired person may

   independently use the internet. Unless the website is designed to be accessed with screen

   reader software, visually impaired individuals are unable to fully access website and the

   information, products, and services available through the website.

          17.     The international website standards organization, W3C, has published WCAG

   2.0 AA (Version 2.0 of the Web Content Accessibility Guidelines). WCAG 2.0 AA provides

   widely accepted guidelines for making websites accessible to individuals with disabilities and

   compatible with screen reader software. These guidelines have been endorsed by the United

   States Department of Justice and numerous U.S. District Courts.

          18.     Plaintiff is legally blind and uses JAWS screen reader software

   (hereinafter, “Plaintiff’s software”) in order to access website content. Plaintiff’s software

   is the most popular screen reader software utilized worldwide by visually impaired

   individuals.

          19.     Despite several attempts, Defendant’s website did not integrate with

   Plaintiff’s software, nor was there any function within the website to permit access for

   visually impaired individuals through other means. Her shopping attempts were rendered

   futile because the website was inaccessible. Therefore, Plaintiff was denied the full use

   and enjoyment of the goods and services available on Defendant’s website as a result of

   access barriers on the website.

          20.     Defendant’s website does not meet the WCAG 2.0 AA level of accessibility.

          21.     By failing to adequately design and program its website to accurately and
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   sufficiently integrate with popular commercially available screen reader software, Defendant

   has discriminated against Plaintiff and others with visual impairments on the basis of a

   disability by denying them full and equal enjoyment of the website, in violation of 42 U.S.C.

   § 12182(a) and C.F.R. § 36.201.


          22.     As a result of Defendant’s discrimination, Plaintiff was unable to use

   Defendant’s website and suffered an injury in fact including loss of dignity, mental anguish

   and other tangible injuries.

          23.     The barriers at the website have caused a denial of Plaintiff’s full and equal

   access multiple times in the past, and now deter Plaintiff from attempting to use Defendant’s

   website.

          24.     If Defendant’s website were accessible, Plaintiff could independently

   research, review and purchase clothing and accessories from Defendant’s stores online, as

   well as utilize the other functions on the website.

          25.     Plaintiff believes that although Defendant may have centralized policies

   regarding the maintenance and operation of its website, Defendant has never had a plan

   or policy that is reasonable calculated to make its website fully accessible to, and

   independently usable by, people with visual impairments.

          26.     Without injunctive relief, Plaintiff and other visually impaired individuals will

   continue to be unable to independently use Defendant’s website in violation of their rights

   under the ADA.
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                                        SUBSTANTIVE VIOLATION

                               (Title III of the ADA, 42 U.S.C. § 12181 et seq.)

          27.      The allegations contained in the previous paragraphs are incorporated

   by reference.

          28.      Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq., provides:

   “No individual shall be discriminated against on the basis of a disability in the full and equal

   enjoyment the goods, facilities, privileges, advantages or accommodations of any place of

   public accommodation by any person who owns, leases (or leases to), or operates a place of

   public accommodation.” 42 U.S.C. § 12182(a).

          29.      Defendant’s stores and accompanying website are public accommodations

   within the definition of Title III of the ADA, 42 U.S.C. § 12181(7)(E).

          30.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful

   discrimination to deny individuals with disabilities the opportunity to participate in or

   benefit from the goods, services, facilities, privileges, advantages or accommodations of

   an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

          31.      Under Section 302(b)(2) of Title III of the ADA, it is unlawful discrimination

   to deny individuals with disabilities the opportunity to participate in or benefit from the goods,

   services, facilities, privileges, advantages or accommodations, which is equal to the

   opportunities afforded to other individuals. 42 U.S.C. § 12182(b)(1)(A)(ii).

          32.      Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

   also includes, among other things:

          a failure to make reasonable modifications in policies, practices or procedures, when
          such modifications are necessary to afford such goods, services, facilities, privileges,
          advantages or accommodations to individuals with disabilities, unless the entity can
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          demonstrate that making such modifications would fundamentally alter the nature of
          such goods, services, facilities, privileges, advantages or accommodations; and a
          failure to take such steps as may be necessary to ensure that no individual with a
          disability is excluded, denied services, segregated or otherwise treated differently than
          other individuals because of the absence of auxiliary aids and services, unless the entity
          can demonstrate that taking such steps would fundamentally alter the nature of good,
          service, facility, privilege, advantage or accommodation being offered or would result
          in an undue burden.

   42 U.S.C. § 12182(b)(2)(A)(ii) (iii); see also 28 C.F.R. § 36.303(a).

          33.     Title III requires that “[a] public accommodation shall furnish appropriate

   auxiliary aids and services where necessary to ensure effective communication with

   individuals with disabilities.” 28 C.F.R. § 36.303(c)(1). The regulations set forth numerous

   examples of “auxiliary aids and services,” including “…accessible electronic and

   information technology; or other effective methods of making visually delivered materials

   available to individuals who are blind or have low vision.” 28 C.F.R. § 36.303(b).

          34.     The acts alleged herein constitute violations of Title III of the ADA, and the

   regulations promulgated thereunder. Plaintiff, who is legally blind and has a disability that

   substantially limits the major life activity of seeing within the meaning of 42 U.S.C. §§

   12102(1)(A) and (2)(A), has been denied full and equal access to Defendant’s website.

   Plaintiff has not been afforded the goods, services, privileges and advantages that are

   provided to other patrons who are not disabled, and/or has been provided goods, services,

   privileges and advantages that are inferior to those provided to non-disabled persons. These

   violations are ongoing as Defendant has failed to make any prompt and equitable changes to

   its website and policies in order to remedy its discriminatory conduct.

          35.     Pursuant to 42 U.S.C. 12188 and the remedies, procedures and rights set forth

   and incorporated therein, Plaintiff, on behalf of herself and on behalf of others similarly

   situated requests relief as set forth below.
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                                PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, on behalf of herself and others similarly situated prays for:

         a.     A Declaratory Judgment that at the commencement of this action Defendant
                was in violation of the specific requirements of Title III of the ADA described
                above, and the relevant implementing regulations of the ADA, in that
                Defendant took no action that was reasonably calculated to ensure that its
                website is fully accessible to, and independently usable by, blind individuals;

         b.     A permanent injunction pursuant to 42 U.S.C. § 12188(a)(2) and 28 CFR §
                36.504 (a) which directs Defendant to take all steps necessary to brings its
                website into full compliance with the requirements set forth in the ADA, and
                its implementing regulations, so that its website is fully accessible to, and
                independently usable by, blind individuals, and which further directs that the
                Court shall retain jurisdiction for a period to be determined to ensure that
                Defendant has adopted and is following an institutional policy that will in fact
                cause Defendant to remain fully in compliance with the law;

         c.     Payment of costs of suit;

         d.     Payment of reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28
                CFR § 36.505; and,

         e.     The provision of whatever other relief the Court deems just, equitable
                and appropriate.



                                            Respectfully submitted,

                                            /s/ J. Courtney Cunningham
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